         Case 3:14-cv-30167-MGM Document 6 Filed 05/26/15 Page 1 of 1




                          UNITED STATES DISTRICT COURT

                            DISTRICT OF MASSACHUSETTS




Amanda Ring      ,
                 Plaintiff
V.                                                       CA 14-30167-MGM




Integrity Solution Services, Inc ,
                 Defendant




                                        ORDER
                                     May 26, 2015

Mastroianni, D.J.

       Pursuant to the provisions of Local Rule 4.1 and F.R.Civ.P

4(m), it is hereby ordered that this case be dismissed without

prejudice for failure to serve the defendant and file returns of

service within one hundred twenty days of filing the complaint.


       It is so ordered.



                                        /s/Mark G. Mastroianni
                                        United States District Judge
